In re:

Debtor.

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Martha Hunt

UNITED STATES BANKRUPTCY COURT

SOUTHERN DISTRICT OF FLORIDA

MIAMI DIVISION

Case number: 19-17099-RAM
Chapter 13

/

OBJECTION TO CLAIM AND NOTICE OF HEARING ON OBJECTION TO CLAIM

IMPORTANT NOTICE TO CREDITOR: THIS IS AN OBJECTION TO YOUR CLAIM

This objection seeks either to disallow or reduce the amount or change the priority status
of the claim filed by you or on your behalf. Please read this objection carefully to identify which
claim is objected to and what disposition of your claim is recommended. This objection also sets
an expedited hearing on this objection on the date already scheduled for the confirmation
hearing in accordance with Local Rule 3007-1(B)(2).

Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1, the Debtor(s) objects to the
following claim filed in this case:

 

Claim
#

10

 

Name of
Claimant

American
Investment

Services,
LLP

Amount of
Claim

$51,006.60

Basis for Objection and Recommended Disposition

Claimant filed its proof of claim no. 10 on April 29, 2020
(“POC”) seeking an interest rate of 13% regarding the
claim amount of $51,006.60 (“Claim”). Claimant
obtained a Final Judgment of Foreclosure dated March 6,
2019 (“Final judgment”) regarding this claim. Exhibit A.
As such, the Debtor seeks to treat this claim by reducing
the interest rate from 13% to 6.33% pursuant to Florida
Statute as the final judgment shall be paid off through the
chapter 13 plan. .

ATTORNEY ACKNOWLEDGMENT

The movant, or movant's counsel, ARIEL SAGRE, ESQ., shall serve a copy of this
objection and notice of hearing on all required parties and shall file this original objection and
notice and completed certificate of service with the court not later than 14 days prior to the
hearing date and that a certificate of service conforming to Local Rule 2002-1(F) must be filed
with the Court when the objection and notice of hearing are served.

 
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CERTIFICATE OF SERVICE AND COMPLIANCE WITH LOCAL RULE 9073-1(D)

I hereby certify that a true copy of the foregoing objection and notice of hearing was
served on all parties listed below on May 19, 2020 and that I have conferred with opposing
counsel in an attempt to resolve these issues before requesting this hearing.

ECF ,

Nancy N. Neidich, Esquire

Office of the Standing Chapter 13 Trustee
P.O. Box 279806

Miramar, FL 33027

First-Class U.S. Mail

American Investment Services, LLP
c/o Sabrina Chassagne, P.A.

One NE 2™ Avenue, Suite 208
Miami, FL 33132

ECF

Sabrina Chassagne, Es.
Sabrina Chassagne, P.A.

One NE 2" Avenue, Suite 208
Miami, FL 33132

Counsel of Record DE# 59

RESPECTFULLY SUBMITTED,

SAGRE LAW FIRM, P.A.

Counsel for Debtor

5201 Blue Lagoon Drive, Suite 892
Miami, Florida 33126

Tel.: (305) 266-5999

Fax.: (305) 265-6223

By: /s/
ARIEL SAGRE, ESQ.
FLA. BAR. NO.: 557447
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EXHIBIT A
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FJUD

AMERICAN INVESTMENT SERVICES, LLP,

a Florida Limited Liability Partnership,
Plaintiff.

v.

MARTHA HUNT, single, et al.

Defendants,
/

FINAL JUDGMENT OF FORECLOSURE 32e

CFN. 20190189486 BOOK 31362 PAGE 1268
DATE:03/12/2019 03:20:45 PM
HARVEY RUVIN, CLERK OF COURT. MIA-DADE CTY

IN THE pecurt courremffpsi--
JUDICL AND FOR
MIAMI DADE COUNTY, FLORIDA

GENERAL JURISDICTION DIVISION % ; 4

CIRCUIT CIVIL DIVISIQN

TF
CASE NO.: 18-36984 DADS.

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THIS ACTION was heard before the Court on Plaintiff's Motion for S mary
Judgment on March 6, 2019. On the evidence presented, IT IS ORDERED AND ADJUDGED
that Plaintiff's Motion for Summary Judgment is GRANTED against all Defendants listed by
name: MARTHA HUNT, JAMAL HUNT, FLORIDA HOUSING FINANCE CORPORATION

—

and MICROF, LLC.

1. Amounts Due and Owing. Plaintiff is duc:

Principal due on the note secured by the mortgage foreclosed:
Interest on the note and mortgage from 03/20/2008 to 01/31/2019

Interest to date of this judgment

Late charges Accrued

Title search expenses

Taxes for the yearts) of

Insurance premiums for the year(s) of

Attormeys’ Fees Total

Court Costs Now Taxed:
Filing fee

Service of Process
Summons

Lis Pendens

SUBTOTAL

Additional Costs:

Property Inspection

Publication for Sale

Foreclosure Fee

County Registration

Additional Fees (Mailing Fee, etc.)

https://onlineservices.miami-dadeclerk.com/officialrecords/CFNDetailsHTMLS.aspx?QS=...

$___15,500.00
$___ 22,226.40
$ 190.40
$___1,516.98
$____175.00
$C
$ 0

$___6,862.50

$__ 406.00
$___ 200.00
$__ 45.00
$ 2.00
$___ 47,127.28
$ 275.00
$___245.00
$ 70,00

$____300.00
$__22,00

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SUBTOTAL $48,039.28
Less: Escrow Balance $ 0
Less: Other $e
GRAND TOTAL S___.48,039,28

2. Interest. The grand total amount referenced in Paragraph | shall bear interest from this
date forward at the prevailing legal rate of interest.

3. Lien on Property. Plaintiff, whose address is 1497 NW 7 Street, Miami, Florida
33125, holds a lien for the grand total sum superior to all claims or estates of the defendant(s), on
the following described property in Miami Dade County, Florida:

Lot 19, in Block 2, of HIGH HOUSE SUBDIVISION, according to the Plat thereof, V
as recorded in Plat Book 59, at Page 62, of the Public Records of Miami-Dade

County, Florida.
Property address: 3031 NW _185 Terrace, Miami Gardens, Florida 33056-3010,
4. Sale of property. Ifthe grand total amount with interest at the rate described in

Paragraph 2 and all costs accrued subsequent to this judgment are not paid, the Clerk of the
Courts shall sell the subject property at public sale. Pursuant to Administrative Order 09-18, the
Clerk of the Courts for the Eleventh Judicial Cireuit is authorized to conduct on-line public
auctions of real property in lieu of on-site auctions. The Clerk of the Courts shall conduct the

sale online at www.miami orectose.s commencing at 9:00 A.M.on
4uus F ,201_7, to the highest bidder for cash.
$. Costs. Plaintiff shalt advance all subsequent costs of this action and shal! be reimbursed

for them by the Clerk if plaintiff is not the purchaser of the property for sale, provided, however,
that the purchaser of the property for sale shall be responsible for documentary stamps affixed to
the certificate of title. If plaintiff is the purchaser, the Clerk shall credit plaintiff's bid with the
total sum with interest and costs accruing subsequent to this judgment, or such part of it, as is
necessary to pay the bid in full.

6. Distribution of Proceeds. On filing the Certificate of Title, the Clerk shall distribute the
proceeds of the sale, so far as they are sufficient, by paying: first, all of the plaintiff's costs;
second, documentary stamps affixed to the Certificate; third, plaintiff's attomeys” fees; fourth,
the total sum due to the plaintiff, less the items paid, plus interest at the rate prescribed in
paragraph 2 from this date to the date of the sale; and by retaining any remaining amount
pending the further order of this Court.

7. Right of Redemption/Right of Possession. Upon filing of the Certificate of Sale,
defendant(s) and all persons claiming under or against defendant(s) since the filing of the Notice

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of Lis Pendens shail be foreclosed of ail estate or claim in the property, except as to claims or
rights under Section 45.01315, Florida Statutes (2013) shall be terminated, except as to claims
or rights under Chapter 718 or Chapter 720, Fla. Stat., if any. Upon filing of the Certificate of
Title, the person named on the Certificate of Title shall be let into possession of the property,
subject to tenant protections in compliance with the provisions of Section 83.561, Fla. Stat.
(2015).

8. Attorneys’ Fees. [fa default judgment has been entered against the mortgagor:

Because a default judgment has been entered against the mortgagor and because the fees
requested do not exceed 3% of the principal amount owed at the time the complaint was filed, it
is not necessary for the court to hold a hearing or adjudge the requested attorneys" fees to be
reasonable.

If no default has been entered against the mortgagor:

The court finds, based upon the affidavits‘testimony presented and upon reasonable inquiry of
counsel for the plaimiff that 18.3 hours were reasonably expended by that plaintiff's is counsel
and that an hourly rate of $375.00 is appropriate. Plaintiff's counsel represents that the
attomeys’ fee awarded does not exceed its contract fee with the plaintiff. The court finds that
there is/are no reduction or enhancement factors for consideration by the court pursuant to
Florida Patients Compensation Fund v. Rowe, 472 So. 2d 1145 (Fla. 1985). (If the court has
found that there are reduction or enhancement factors to be applied, then reduction or
enhancement factors must be identified and explained herein).

If the fees to be awarded are a flat fee:

The requested attorneys’ fees are a flat rate fee that the firm's clicnt has agreed to pay in this
matter. Given the amount of the fee requested and the labor expended, the court finds that a
lodestar analysis is not necessary and that the flat fee is reasonable.

9. Jurisdiction. The Court retains jurisdiction of this action to enter further orders that
are proper, including, without limitation, writs of possession and deficiency judgments.

IF THIS PRGPERTY [8 SOLD AT PUBLIC AUCTION, THERE MAY BE
ADDITIONAL MONEY FROM THE SALE AFTER PAYMENT OF PERSONS WHO
ARE ENTITLED TO BE PAID FROM THE SALE PROCEEDS PURSUANT TO THE
FINAL JUDGMENT.

IF YOU ARE A SUBORDINATE LIEN HOLDER CLAIMING A RIGHT TO FUNDS
REMAINING AFTER THE SALE, YOU MUST FILE A CLAIM WITH THE
CLERK NO LATER THAN SIXTY (60) DAYS AFTER THE SALE. IF YOU FAIL
TO FILE A CLAIM, YOU WILL NOT BE ENTITLED TO ANY REMAINING FUNDS,

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(If the property being foreclosed on has qualified for the homestead tax exemption in the most
recent approved tax roll, the final judgment shall additionally contain the following statement in
conspicuous type.)

IF YOU ARE THE PROPERTY OWNER, YOU MAY CLAIM THESE FUNDS
YOURSELF. YOU ARE NOT REQUIRED TO HAVE A LAWYER, OR ANY OTHER
REPRESENTATION AND YOU DO NOT HAVE TO ASSIGN YOUR RIGHTS TO
ANYONE ELSE IN ORDER FOR YOU TO CLAIM ANY MONEY TO WHICH YOU
ARE ENTITLED. PLEASE CHECK WITH THE CLERK OF THE COURT, 140 WEST
FLAGLER STREET, ROOM 908, MIAMI, FLORIDA (TELEPHONE: (305) 375-5943),
WITHIN (10) DAYS AFTER THE SALE TO SEE IF THERE IS ADDITIONAL
MONEY FROM THE FORECLOSURE SALE THAT THE CLERK HAS IN THE
REGISTRY OF THE COURT.

IF YOU DECIDE TO SELL YOUR HOME OR HIRE SOMEONE TO HELP YOU
CLAIM THE ADDITIONAL MONEY, YOU SHOULD READ VERY CAREFULLY ALL
PAPERS YOU ARE REQUIRED TO SIGN, ASK SOMEONE ELSE, PREFERABLY AN
ATTORNEY WHO IS NOT RELATED TO THE PERSON OFFERING TO HELP YOU,
TO MAKE SURE THAT YOU UNDERSTAND WHAT YOU ARE SIGNING AND THAT
YOU ARE NOT TRANSFERRING YOUR PROPERTY OR THE EQUITY IN YOUR
PROPERTY WITHOUT THE PROPER INFORMATION. IF YOU CANNOT AFFORD
TO PAY AN ATTORNEY, YOU MAY CONTACT THE LEGAL AID SOCIETY AT THE
DADE COUNTY BAR ASSOCIATION, 123 N.W. FIRST AVENUE, SUITE 214, MIAMI,
FLORIDA, (TELEPHONE: (305) 579-5733), TO SEE IF YOU QUALIFY
FINANCIALLY FOR THEIR SERVICES. IF THEY CANNOT ASSIST YOU, THEY
MAY BE ABLE TO REFER YOU TO A LOCAL BAR REFERRAL AGENCY OR
SUGGEST OTHER OPTIONS. IF YOU CHOOSE TO CONTACT THE DADE COUNTY
BAR ASSOCIATION LEGAL AID SOCIETY, YOU SHOULD DO SO AS SOON AS
POSSIBLE AFTER RECEIPT OF THIS NOTICE, MAR 96 2019

DONE AND ORDERED in Chambers in Miami Dade County, Florida, this day
of 201,

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Michael! P. Cudlipp, Esq.,
Hugh R. Brown, Esq.
Martha Hunt and Jamal Hunt at 3031 NW 185th Terrace, Miami Gardens, Florida 33056.

Microf, LLC, Attn: Corporation Service Company at 1201 Hays Street, Tallahassee, Florida 32301

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